      Case: 1:22-cv-01808 Document #: 7 Filed: 04/12/22 Page 1 of 2 PageID #:41



                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MATTHEW CRAWFORD,                                 )
                                                  )
                         Plaintiff,               )       Case No. 22-cv-1808
                                                  )
                v.                                )       Judge Sharon Johnson Coleman
                                                  )
SOMETHINGAWFUL.COM,                               )
                                                  )
                         Defendant.               )

                                                 ORDER

        After screening pro se plaintiff Matthew Crawford’s complaint under 28 U.S.C. § 1915(e)(2),

the Court dismisses this lawsuit for lack of subject matter jurisdiction. Mr. Crawford’s application to

proceed in forma pauperis is denied as moot [3]. Civil case terminated.

                                         LEGAL STANDARD

        Under 28 U.S.C. § 1915(e)(2), the Court must look beyond pro se plaintiff’s financial status

and review his claims to determine whether the action he alleges is frivolous or malicious, fails to

state a claim on which relief may be granted, or if it is seeking damages from a defendant who is

immune. See 28 U.S.C. § 1915(e)(2)(B)(i)-(iii); see also Jones v. Bock, 549 U.S. 199, 214, 127 S.Ct. 910,

166 L.Ed.2d 798 (2007) (grounds for sua sponte dismissal set forth in 28 U.S.C. § 1915(e)(2)(B)).

Equally important, “[f]ederal courts are courts of limited jurisdiction” and “possess only that power

authorized by Constitution and statute.” E.F.L. v. Prim, 986 F.3d 959, 962 (7th Cir. 2021).

                                             DISCUSSION

        Construing Mr. Crawford’s pro se complaint liberally, see Eagan v. Dempsey, 987 F.3d 667, 689

(7th Cir. 2021), he alleges that the comedy website SomethingAwful.com violated his First

Amendment rights on March 15, 2022. Mr. Crawford bases his constitutional claim on the website’s

lack of customer service, that different users stated they do not like him, that it is difficult to find his
      Case: 1:22-cv-01808 Document #: 7 Filed: 04/12/22 Page 2 of 2 PageID #:42



post history and his user ID, his speech has been suppressed because he used the word “retard,” the

website disallows posts containing nudity, among other similar grievances. He also takes issue with

the website’s interface, page and font restrictions, the costs of advertising on the website, and other

restrictions.

        Viewing his allegations generously, Mr. Crawford cannot bring his First Amendment claim

against the website because it is not a state actor, but rather a private entity. To clarify, to bring a

constitutional claim against a defendant, that defendant must have acted under the color of state law,

which usually means that the defendant is a government entity or official. See Barnes v. City of

Centralia, Ill., 943 F.3d 826, 831 (7th Cir. 2019); London v. RBS Citizens, N.A., 600 F.3d 742, 746 (7th

Cir. 2010). In short, constitutional claims cannot be based on private conduct. Spiegel v. McClintic,

916 F.3d 611, 616 (7th Cir. 2019). Because SomethingAwful.com is a private website without the

authority of state law, Mr. Crawford cannot bring his First Amendment claim against it. See

Murawski v. Pataki, 514 F.Supp.2d 577, 588 (S.D.N.Y. 2007). The Court dismisses this case without

prejudice because the Court does not have subject matter jurisdiction over Mr. Crawford’s claim.

        Last, the Court notes that Mr. Crawford has filed at least thirteen pro se lawsuits in the last

six weeks, many of which have been dismissed after an initial screening under 28 U.S.C. § 1915(e)(2).

IT IS SO ORDERED.


                                                          _____________________________
                                                          SHARON JOHNSON COLEMAN
                                                          United States District Court Judge
DATED: 4/12/2022




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